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                            UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF COLORADO

IN RE: JEFFERY JOHN WEISS                 )
                                          )     Case No. 11-35210-HRT
      Debtor                              )
_________________________________________ )
                                          )
DR. JOHN AVENS, MARK BARRAND,             )
DR. CAROLJEAN BONGO, JOHN BRODBECK, )
DEBRA COOPER, RICHRD DEIS, JR.,           )
DIANE GADZIALA, ROBERT AND                )
KATHY HARTMAN, GERARD HERNANDEZ, )
DONNA LABOY, DENNIS AND PATRICIA          )
MOUSER, MICHAEL OCCHIATO, JOSHUA          )     Adv. Proc. 11-01933-HRT
AND ELIZABETH ROSEN, JOSHUA AND           )
MEAGAN STANEK                             )
      Plaintiffs,                         )
                                          )
v.                                        )
                                          )
JEFFERY JOHN WEISS, Debtor                )
      Respondent.                         )
_____________________________________________________________________________

  ORDER APPROVING SETTLEMENT AGREEMENT AND FOR ENTRY OF JUDGMENT
______________________________________________________________________________

       This matter is before the Court on the Joint Motion to Approve Settlement Agreement (“Joint
Motion”). The Court, having reviewed the Joint Motion and the Settlement Agreement attached thereto,
and being sufficiently advised in the premises, hereby:

       ORDERS that the Court approves the Settlement Agreement.

       The Court further GRANTS the Joint Motion.

       The Court further ORDERS that judgment in this matter shall enter in the amount of $22,500.00,
and that the judgment shall be nondischargeable pursuant to 11 U.S.C. § 523(a)(19).

        The Court further ORDERS that the Defendant may satisfy the judgment in this matter pursuant
to the terms of the Settlement Agreement.

       The Court further ORDERS that each party shall pay its own fees and costs in this matter.

       Dated this 19th day of March, 2012.         BY THE
                                                       H COURT

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                                                   Howard
                                                      w rd R. Tallman,
                                                   Hoowa
                                                   H          T llman, Chief Judge
                                                              Ta
                                                   United States Bankruptcy Court
